 Case 18-01077      Doc 36    Filed 04/13/18 Entered 04/13/18 13:08:12       Desc Main
                                Document     Page 1 of 5


                  IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
      IN THE MATTER OF                     IN PROCEEDINGS
                                           UNDER CHAPTER 13
      PAUL B FULLER
      SHARON FULLER,                       CASE NO. 18-01077
                                           JUDGE: DOYLE
                  DEBTORS
                                NOTICE OF MOTION
Notified via Electronic Filing
U.S. Trustee, 219 S Dearborn St, Room 873, Chicago, IL 60604
Tom Vaughn, 55 E. Monroe Street, Suite 3850, Chicago, IL 60603
Samantha V Jaime, Ledford Wu Borges, LLC, 105 W. Madison 23rd Floor, Chicago, IL
60602
Notified via US Postal Service
Paul B Fuller, 20600 Marathon Ct., Olympia Fields, IL 60461
Sharon Fuller, 20600 Marathon Ct., Olympia Fields, IL 60461

       Please take notice that on the 24th day of April, 2018, at the hour of 9:30 a.m. or
as soon thereafter as I may be heard, I shall appear before the Honorable Judge
CAROL A DOYLE in Courtroom 742 at the United States Bankruptcy Court, 219 S
Dearborn, Chicago, IL 60604 or before any other Bankruptcy Judge who may be
presiding in his/her place and stead and shall then and there present the accompanying
motion. At that time and place you may attend if you so choose.
  Case 18-01077      Doc 36    Filed 04/13/18 Entered 04/13/18 13:08:12         Desc Main
                                 Document     Page 2 of 5


                                AFFIDAVIT OF SERVICE

        The undersigned hereby certifies that he/she caused a true and correct copy of
the above and foregoing document to be sent to the Debtors at the address listed
below. Said copy was placed in an envelope addressed as listed below and placed in
the U.S. Mail on April 13, 2018, with first class postage prepaid. All other parties entitled
to notice received such notice electronically, through the office of the Clerk of the Court.

                                   Respectfully Submitted,

                                   /s/ Michael N. Burke
                                   Michael N. Burke

Mike Kalkowski ARDC #6185654
Richard B. Aronow ARDC# 03123969
Michael N. Burke ARDC#6291435
Shapiro Kreisman & Associates, LLC
2121 Waukegan Road, Suite 301
Bannockburn, IL 60015
(847) 291-1717
Attorneys for Movant
18-085647

The firm of Shapiro Kreisman & Associates, LLC is a debt collector. This is an
attempt to collect a debt. Any information may be used for that purpose. If your
personal liability for this debt has been extinguished, discharged in bankruptcy
or if a court order prohibits collecting this debt from you personally, then this is
an attempt to enforce the Movant’s rights with respect to the property addressed
herein, and it is not an attempt to collect the debt from you personally.
     Case 18-01077    Doc 36    Filed 04/13/18 Entered 04/13/18 13:08:12      Desc Main
                                  Document     Page 3 of 5




                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

        IN THE MATTER OF                        IN PROCEEDINGS
                                                UNDER CHAPTER 13
        PAUL B FULLER
        SHARON FULLER,                          NO. 18-01077
                                                JUDGE: DOYLE
                     DEBTORS

     MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR IN THE ALTERNATIVE
                          DISMISSAL OF THE CASE

         NOW COMES the Movant, THE BANK OF NEW YORK MELLON, F/K/A The

Bank of New York as trustee for registered Holders of CWABS, Inc., Asset-Backed

Certificates, Series 2006-6, by and through its attorneys, Shapiro Kreisman &

Associates, LLC, and states as follows:

1.       On January 15, 2018, the above-named Debtors filed a Petition pursuant to 11

USC § 1301, et. seq. and a Plan which has not been confirmed.

2.       A material term of said plan called for the Debtors to make post-petition monthly

mortgage payments directly to the Movant commencing with the installment that came

due on February 1, 2018.

3.       Notwithstanding said material term, said post-petition mortgage payments are in

default in the amount of $9,509.06 through April 30, 2018:

2/1/2018 - 4/1/2018 monthly payments       =$                               8,478.06
at $2,826.02 each
Bankruptcy MFR court cost                  =$                                181.00
Bankruptcy Attorneys' fees                 =$                                850.00

TOTAL                                      =$                              9,509.06
     Case 18-01077    Doc 36     Filed 04/13/18 Entered 04/13/18 13:08:12         Desc Main
                                   Document     Page 4 of 5


4.       By failing to make current mortgage payments, the Debtors have failed to provide

the Movant with adequate protection for its security, contrary to the requirements of the

Bankruptcy Code.

5.       Carrington Mortgage Services, LLC services the loan on the property referenced

in this motion. In the event the automatic stay in this case is modified, this case

dismisses, and/or Debtor obtains a discharge and a foreclosure action is commenced

on the mortgaged property, the foreclosure will be conducted in the name of Movant.

Movant, directly or through an agent, has possession of the promissory note. Movant

will enforce the promissory note as transferee in possession. Movant is the original

mortgagee or beneficiary or the assignee of the Mortgage.

6.       That the Movant adopts the facts set forth in the Statement of Default as

additional allegations in support of this motion.

7.       This failure constitutes a material default entitling Movant to relief pursuant to 11

U.S.C. §362(d).

8.       For the reasons set forth above, it would be inequitable to delay the enforcement

of any order modifying the automatic stay with respect to the Movant.

         WHEREFORE, THE BANK OF NEW YORK MELLON, F/K/A The Bank of New

York as trustee for registered Holders of CWABS, Inc., Asset-Backed Certificates, Series

2006-6, moves this Honorable Court to modify the automatic stay to allow THE BANK

OF NEW YORK MELLON, F/K/A The Bank of New York as trustee for registered Holders

of CWABS, Inc., Asset-Backed Certificates, Series 2006-6 to foreclose the mortgage on

the property located at: 20600 Marathon Ct., Olympia Fields, IL 60461; that the unpaid

portion of any proof of claim or stipulation calling for payment of the debt secured by that
 Case 18-01077     Doc 36   Filed 04/13/18 Entered 04/13/18 13:08:12      Desc Main
                              Document     Page 5 of 5


mortgage be withdrawn for purposes of these proceedings only and that Federal

Bankruptcy Rule 4001(a)(3) be waived or dismiss the case.




                                 Respectfully submitted,

                                 __/s/ Michael N. Burke____________________
                                 Attorney for THE BANK OF NEW YORK MELLON,
                                 F/K/A The Bank of New York as trustee for registered
                                 Holders of CWABS, Inc., Asset-Backed Certificates,
                                 Series 2006-6


Mike Kalkowski ARDC #6185654
Richard B. Aronow ARDC# 03123969
Michael N. Burke ARDC#6291435
Shapiro Kreisman & Associates, LLC
2121 Waukegan Road, Suite 301
Bannockburn, IL 60015
(847) 291-1717
Attorneys for Movant
18-085647

The firm of Shapiro Kreisman & Associates, LLC is a debt collector. This is an
attempt to collect a debt. Any information may be used for that purpose. If your
personal liability for this debt has been extinguished, discharged in bankruptcy
or if a court order prohibits collecting this debt from you personally, then this is
an attempt to enforce the Movant’s rights with respect to the property addressed
herein, and it is not an attempt to collect the debt from you personally.
